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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                            CORPUS CHRISTI DIVISION

UNITED STATES,                                §
                                              §
v.                                            §           Cr. No. C-05-701 (3)
                                              §
VICTOR ARCOS-BENITEZ.                         §


     ORDER GRANTING MOTION TO PROCEED ON APPEAL IN FORMA PAUPERIS

       The motion of Appellant Victor Arcos-Benitez seeking leave to proceed on appeal in forma

pauperis (D.E. 106) is GRANTED.


       It is ORDERED this 14th day of August, 2006.



                                           ____________________________________
                                            B. JANICE ELLINGTON
                                           UNITED STATES MAGISTRATE JUDGE




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